Case 1:09-cv-01169-LTB-CBS Document 39 Filed 12/17/10 USDC Colorado Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

Civil Action No. 09-cv-01169-ZLW tnaren gral be E D
DENVER coroner ‘Courr
SOLOMON BEN-TOV COHEN, D
EC 17 2919
Plaintiff R Gory
C. LANGH
AM
Vv. CLER;

JOHN P. LONGSHORE, and
UNKNOWN MAIL CLERK, El Paso County Sheriff's Office,

Defendants.

 

ORDER REINSTATING CASE

 

Pursuant to the mandate of the United States Court of Appeals for the Tenth
Circuit filed on December 13, 2010, this civil action is reinstated. Accordingly, it is
ORDERED that this civil action is reinstated pursuant to the mandate of the
United States Court of Appeals for the Tenth Circuit filed on December 13, 2010. It is
FURTHER ORDERED that the case shall be reassigned to the pro se docket.
DATED at Denver, Colorado, this 15th day of December, 2010.

BY THE COURT:
. } }

ZITA LEESON WEINSHIENK, Senior Judge
United States District Court

 
Case 1:09-cv-01169-LTB-CBS Document 39 Filed 12/17/10 USDC Colorado Page 2 of 2

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

CERTIFICATE OF MAILING

Civil Action No. 09-cv-01169-ZLW

Solomon B. Cohen

Reg No. 77 309 675

ICE Processing Center - GEO Detention Facility
11901 East 10" Avenue

Aurora, CO 80010

| hereby certify that | have mailed a copy of the ORDER to the above-named
individuals on December 17, 2010.
GREGORY6.LANGHAM, CLERK

ep Clerk

By:

 
